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                            UNITED STATES DISTRICT COURT                                    p1
                             WESTERN DISTRICT OF TEXAS
                                                                                                      c'
;IrT
                                      SAN ANTONIO DIVISION
                                                                                                           o
                                                    Case No.: 5:1 9-cv-OO55
       Group
                                                                                                        e


                      MOTION FOR ADMISSION PRO HAC VICE
TO THE HONORABLE JUDGE OF SAID COURT:
                    Karen Hoffmann
       Comes now                                                          ,   applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of
                                Plaintiffs
Texas pro hac vice to represent                                                   in this case, and

would respectfully show the Court as follows:


               Applicant is an attorney and a member of the law firm (or practices under the name of)
               Aldea - The People's Justice Center
                                                                        with offices at:
                                  532 Walnut Street
               Mailing address:
                                       Reading PA 19601
               City, State, Zip Code:
                             412-916-4509                              484-926-2032
               Telephone:                                  Facsimile:

                       05/18/2017
       2.      Since _______________________________, Applicant has been and presently is a
                                                                           Pennsylvania
               member of and in good standing with the Bar of the State of
                                                 323622
               Applicant's bar license number is


       3.      Applicant has been admitted to practice before the following courts:

               Court:                                       Admission date:
               District of Colorado                         09/06/2018

               Court of Appeals for the Third Circuit       04/25/2019
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4.    Applicant is presently a member in good standing of the bars of the courts listed above,

      except as provided below (list any court named in the preceding paragraph before which

      Applicant is no longer admitted to practice):
      N/A




5.    I   []have          have not previously applied to Appear Pro Hac Vice in this district

      court in Case[sJ:

      Number                                on the       day of________________

      Number.                               on the       day of________________

      Number:                               on the       day of

6.    Applicant has never been subject to grievance proceedings or involuntary removal

      proceedings while a member of the bar of any state or federal court, except as

      provided:
      N/A




7.    Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

      except as provided below (omit minor traffic offenses):
      Disorderly conduct citation, dismissed 03/05/2009, Allegheny County Court of
      Common Pleas' (Dkt. No. MJ-05003-NT-0010781-2008).




 8.    Applicant has read and is familiar with the Local Rules of the Western District of Texas

       and will comply with the standards of practice set out therein.
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          9.        Applicant will file an Application for Admission to Practice before the United States

                    District Court for the Western District of Texas, if so requested; or Applicant has

                    co-counsel in this case who is admitted to practice before the United States District

                    Court for the Western District of Texas.
                                   Curtis FJ Doebbler
                    Co-counsel:
                                       RAICES 802 Kentucky Ave.
                    Mailing address:
                                             San Antonio TX 78201
                    City, State, Zip Code:
                                  210-226-7722, ext 171
                    Telephone:


          Should the Court grant applicant's motion, Applicant shall tender the amount of $100.00 pro hac

vice fee in compliance with Local Court Rule AT-l(f)(2) [checks made payable to: Clerk, U.S. District

Court].

     Wherefore, Applicant prays that this Court enter an order permitting the admission of
Karen Hoffmann
                                    to the Western District of Texas pro hac vice for this case only.


                                                          Respectfully submitted,
                                                           Karen Hoffmann
                                                          [printed name of Applicant]
                                                                                      -




                                                          [signature of!   plicant]


                                        CERTIFICATE OF SERVICE

          I   hereby certify that I have served a true and correct copy of this motion upon each attorney of

record and the original upon the Clerk of Court on this the      Qday of                            ,   9.i)   9.

                                                           Karen Hoffmann
                                                          [printed name of     plicant]


                                                          [signature of Appi cant]
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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

Rios

                                                                  5: 19-cv-00552
vs.                                                   Case No.:
GEO Group




                                              [0) 1   )*

       BE if REMEMBERED on this day, there was presented to the Court the Motion for
                                 Karen Hoffmann
Admission Pro Hac Vice filed by __________________________________________, counsel for
Plaintiffs
                                                      and the Court, having reviewed the motion, enters

the following order:

        if IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and
 Karen Hoffmann                                                Plaintiffs
                                       may appear on behalf of________

 in the above case.
                                          Karen Hoffmann
        if IS FURTHER ORDERED that _____________________________________, if he/she
has not already done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.

District Court, in compliance with Local Court Rule AT-l(f)(2).

        SIGNED this the              day of                                        20




                                                      UNITED STATES MAGISTRATE JUDGE
